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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x
UNITED STATES OF AMERICA             :
                                     :                    99 Cr. 1159
          -v-                        :
                                     :                          ORDER
                                     :
LEONARD JOHNSON,                     :
                                     :
     Defendant.                      :
-------------------------------------x

JED S. RAKOFF, U.S.D.J.

       Before the Court is the pro se motion of defendant Leonard Johnson

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). By

way of background, Johnson, who is 53 years old, filed this motion in

two letters to the Court respectively dated July 7, 2020, Dkt. No. 67,

and August 11, 2020, Dkt. No. 68. Neither letter set forth any specific

reason       why   Johnson     would   qualify    for    compassionate          release.

Accordingly, in a letter dated August 21, 2020, the Court instructed

Johnson that if he would like to pursue the motion further, he should

send   the     Court    another   letter   identifying    why       he    qualifies    for

compassionate release. Johnson replied by way of another letter dated

December 23, 2020, in which he explained that his “medical condition”

is an enlarged prostate, “which could spread into cancer.” Dkt. No.

72.

       To     qualify    for    compassionate     release,      a        defendant    must

demonstrate, among other things, that extraordinary and compelling

reasons warrant a sentence reduction. 18 U.S.C. § 3582(c)(1)(a). The




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Court holds that Johnson has failed to make that showing here. His

motion, therefore, is denied.

     SO ORDERED.

Dated: New York, NY                         ________________________
       January 11, 2021                      JED S. RAKOFF, U.S.D.J.




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